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                                                        June 17, 2020

      Honorable Robert M. Levy
      United States Magistrate Judge
      225 Cadman Plaza East
      Brooklyn, New York

               RE:      Marissa J. Lonardo v. Manuel Alejandro Ruiz, et. al.
                        Case No. 2:19-cv-04907-DLI-RML

      Dear Judge Levy:

             As you know, this firm represents the Plaintiff Marissa J. Lonardo. Pursuant to Your
      Honor’s Status Report Order (the “Order”), dated June 12, 2020, we write to advise that the parties
      have not resolved the motion (the “Motion”) to amend the Complaint. After Your Honor issued
      the Order, counsel for the parties conferred by email on Monday, June 15, 2020, and counsel for
      Defendants confirmed that Defendants do not consent to Plaintiff’s Motion.


                                                                    Respectfully Submitted,

                                                                    /s/ Kevin J. Shehan, Esq.

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